Case 5:23-cv-11074-JEL-EAS ECF No. 17-8, PageID.950 Filed 07/22/23 Page 1 of 5


                      JONATHAN M. JACOBS, PRP-R, CPP
                            <J->atl,iarru,n.w:cy Conil.Jtant
                                                  Mailing Address
                                               630 North 63'd Street,
                                             Apartment 3n1 Floor Rear
                                              Philadelphia, PA ! 91 Sl
                                            Telephone: (215) 229-1185
                                            E-mail: jjparlia@yahoo.com



                                          Parliamentary Opinion

        On November 21, 2022, Andrew Chadderdon, contacted 1 the parliamentarian regarding an
appeal to the Judicial Committee of the Libertarian Party of Michigan (LPMI). He asked specific
questions regarding notice. With other documents, he provided his filing with the Judicial Committee
(from which the information in this opening section is taken along with a video of the meeting).

        Mr. Chadderdon was the Second Vice Chair of the LPMI as of the time of the July 9, 2022
nominating convention. At this convention, in spite of Mr. Chadderdon ruling the motion out of order, the
vacancies created by the submitted resignations of Tim Yow and Ben Boren, submitted on June 15, 2022,
and of Brandon Warzybok, submitted on June 14, 2022, were filled.2 Mr. Chadderdon's ruling was based
on the failure to provide adequate notice to fill these vacancies. Mr. Chadderdon, none the less, chose to
                                3
voluntarily relinquish the chair and permit Mr. Joe Brungardt to serve as chair.

       Later in the meeting a "Motion of No Confidence" was adopted removing Mr. Chadderdon as
Second Vice Chair. Notice of this motion was sent to the Executive Committee of the LPMI on June 19,
2022, but was not sent to the membership.

          Mr. Chadderdon has asked if the lack of notice for the election of various individuals at this
nominating convention, i.e., Joe Brungardt as First Vice Chair, Mike Saliba as First Vice Chair (vice Mr.
Brungardt), Mary Buzuma as Second Vice Chair, Rafael Wolf as District 6 Representative, Jon Elgas as
District 8 Representative, Greg Stempfle as District 9 Representative, Kyle McCauley as District 10
Representative, and Scotty Boman as District 14 Representative, caused these elections to be null and
void. He also asked if the failure of notice invalidated the motion of no confidence.

                                                  Works Cited

         The Bylaws of the LPMI are online and shall be cited as "Bylaws" with the appropriate Article and
section number. The notice of the "Nominating Convention" of July 9-10, 2022, which was sent by e-mail
on June 8, 2022 will be cited as "Notice." The Bylaws (Article IX, 2), state that "Robert's Rules of Order
Newly Revised shall be the parliamentary authority for all matters of procedure not specifically covered by
the bylaws or convention rules of the Party." The current edition of this work is the 12'h (2020) edition,
which will be cited in this opinion as "RONR."4 This edition establishes that it supersedes all prior editions
and is the parliamentary authority for groups that specifically adopt "Robert's Rules of Order Newly
Revised" without specifying an edition (p. vii).

        Other citations will appear in the endnotes.

                                                 Commentary

         RONR has what is, effectively, two types of notice requirements, one type for meetings and one
type for specific items of business. It would be entirely possible for some items of business to be in order
at a specific type of meeting, a general meeting, without previous notice and others to be out of order
because of a lack of notice. Some types of meetings require notice for all substantive items of business.
So there are two distinct standards for requiring notice. Both of these standards have a common
outcome; they both protect the rights of absentees.                                                 1

                                          Jonathan M. Jacobs, PRP-R, CPP
                                                fPa:cl'iam.£tda:_y OpinW11.
                                                                              -1!1_
                                                  Page 1 of 3

                                                  EXHIBIT 47
Case 5:23-cv-11074-JEL-EAS ECF No. 17-8, PageID.951 Filed 07/22/23 Page 2 of 5



           Notice, of either type, exists to protect absentees (25: 10) and actions taken without the required
notice are actions taken in violation of a rule protecting absentees. Absentee rights are treated very
seriously in RONR; an action taken in violation of a rule protecting absentees is null and void (23:6 e).
The LPMI Convention of July 9, 2022 managed t-0 violate two different notice requirements in attempting
to fill the vacancies.

         The Bylaws provide for a "candidate nominating convention" in even numbered years. Under the
principle of bylaw interpretation that when a bylaw authorizes "certain things specifically, other things of
the same class are thereby prohibited (RONR, 56:68, 4)," this convention can do nothing except nominate
candidates. Filling a vacancy or using the "vote of no confidence" process found in Article Ill, 10, are not
nominating candidates.

          It would have been possible for the Executive Committee to call a special meeting, using Article
IV, 3, in order to fill the vacancies and adopt a vote of no confidence; this would require notice of the
action needed of at least 30 days to each state party member and resident national party member, as per
Article VI, 4, 4. Had there been more than 30 days between the resignations and the nominating
convention, a special convention could have been scheduled to be held upon adjournment of the
candidate nominating convention. Even doing all of these things in a singular meeting may have been
acceptable had there been proper notice of the nomination of candidates, the filling of the vacancies and
the vote of no confidence. The Notice only mentions the nominating convention, not these additional
items.

         As the candidate nominating convention lacked the authority to act beyond nominating
candidates and because there was no proper notice to the membership of a special convention, the vote
of no confidence and filling of the vacancies are null and void. Note that this specific requirement would
                                                                    5
not apply at a regular state convention held in odd numbered years . This regular convention is capable
"performing such business as required herein (Article VI, 1)." This clause only applies to the regular
convention, not the candidate nominating convention, and under principles of bylaw interpretation,
prohibits general business from being conducted at other types of conventions(RONR, 56:68, 4).

         There is another problem with the attempted filling of the vacancies. RONR notes   • that "In the
case of a resignation from office, unless the bylaws provide otherwise, the assembly cannot proceed to fill
the vacancy [upon a resignation being offered and accepted] immediately since notice is a requirement
(32:7)." For example, at regular state convention held in odd numbered years, notice for most motions
would not be required; a motion to donate some money to a cause, for example, would not require notice.
Notice to fill vacancies would still be required to be included in the notice for the convention, because the
bylaws have to specifically provide that notice is not required.6

        Much like the first violation of notice, this violation of notice would be sufficient to void the filling of
the vacancies. Even in cases where notice of the meeting is not required, notice of the motion to fill the
vacancy is.

          The notice requirement of either type is more than some procedural nicety. A LPMI member,
when he reads the notice, and notes that the deadline past. can make decisions about attending. He
may have to make travel arrangements, take time off work, or get his funds together. He might decide
that it is not worth it just for nominations. He may feel that it was worth it to determine who the officers will
be. It is entirely possible that had proper notice been given, the results would be different.

       In all cases, the failure to give required notice renders the action null and void as a violation of
absentee rights.

                                                      Opinion

          1. The candidate nominating convention may only nominate candidate; it lacks the ability
to fill vacancies or adopt a vote of no confidence.

                                            Jonathan M. Jacobs. PRP-R, CPP
                                                 f.PaJW/11.Uil:a.iy Opu,lon



                                                    Page 2 of 3
Case 5:23-cv-11074-JEL-EAS ECF No. 17-8, PageID.952 Filed 07/22/23 Page 3 of 5



       2. 30 days' notice is required to consider either the filling of the vacancies or a vote of no
confidence at any non-regular meeting. Failure to comply with notice requirements violated
absentee rights and renders these actions null and void.

        3. RONR requires that previous notice be given for filling vacancies in office, even at a
regular meeting. Failure to comply with the notice requirement violated absentee rights and
renders this action null and void.

                                                          Signed:




                                                            Date:




 This is based on general principles of parliamentary procedure, the bylaws of this organization, and
  the cited parliamentary authorities; nothing in this opinion should be construed as an interpretation of
 -statutory or case law.


                                                        End Notes:
         1
           The parliamentarian had some conversations with Mr. Chadderdon prior to the July 9 Candidate
Nominating Convention. While he su�gested that the LPMI hire a local parliamentarian, he did send Mr. Chadderdon
a copy of an article he wrote in the 2n Quarter 2012 issue of the National Parliamentarian, "Putting the Motion From
the Floor." In that article, the parliamentarian noted, "It is the duty of the chair to follow the rules of the assembly,"
and that the chair "still has that duty to enforce the rules, even if the assembly wishes to violate those rules."
         2
           The parliamentarian will note, with irony, that a hypothetical example used in the article was of the
assembly attempting to adopt a motion without proper notice. It is not specific to the current LPMI situation, as it was
written more than a decade prior to that situation occurring.
         3
          Mr. Chadderdon voluntarily, and for the duration of the session only, relinquished the chair for the course of
the convention, which is permissible under RONH 47:11 and relieves him of responsibility for violating the rules. That
responsibility now passes to Mr. Brungardt.
         4
          Robert, Henry M., Robert's Rules of Order Newly Revised, 12th Edition. Eds. Sarah Corbin Robert, Henry
M. Robert, Ill, William J. Evans, Daniel H. Honemann, Thomas J. Balch, Daniel E. Seabold, Shmuel Gerber, New
York: Public Affairs, 2020.
           5
              However, the Bylaws do require that all executive committee members be notified 14 days in advance
(Article Ill, 10). The executive committee members were given more than 14 days' notice. Had this been a regular
meeting, the vote of no confidence could have been considered.
         6
          The idea that a parliamentary authority can require that, for the society to do a certain thing, the thing must
be authorized in the bylaws is fairly widespread and exists well beyond RONR. See "Parliamentary Authorities' Rule
Shift Function," Parliamentary Journal, January 2005.




                                               Jonathan M. Jacobs, PRP-R, CPP
                                                     q..,4t.tfi,a,,wu.«UJ Opu«o;1.

                                                        Page 3 of 3
7/15/23, 3:23 Case
              PM   5:23-cv-11074-JEL-EAS                 ECF
                                                         Gmail - No.  17-8,regarding
                                                                 Fw: Questions PageID.953
                                                                                     ParliamentaryFiled
                                                                                                  Opinion07/22/23
                                                                                                         for LPMI Page 4 of 5


            Gmail                                                                      Caryn Ann Harlos <carynannharlos@gmail.com>



  Fw: Questions regarding Parliamentary Opinion for LPMI
  jjparlia@yahoo.com <jjparlia@yahoo.com>                                                                          Thu, Jul 13, 2023 at 7:10 PM
  To: Caryn Ann Harlos <carynannharlos@gmail.com>, Caryn Ann Harlos <secretary@lp.org>




    Jonathan M. Jacobs, PRP, CPP
    630 North 63rd Street, Apt 3 FL R,
    Philadelphia, PA 19151
    (215) 229-1185




    ----- Forwarded Message -----
    From: jjparlia@yahoo.com <jjparlia@yahoo.com>
    To: Andrew Chadderdon <andrew.chadderdon@gmail.com>
    Sent: Friday, December 23, 2022 at 12:57:40 PM EST
    Subject: Re: Questions regarding Parliamentary Opinion for LPMI

    You may forward this.

    First, while my opinion was written prior to that of Martin and Brown, reading their opinions has not
    changed my opinion in the least.

    Second, the LPMI Bylaws supersede RONR, so when they define something, that definition
    supersedes RONR. The definition of a regular is expressed in Article VI, Section and is limited to
    the meeting held in odd-numbered years. Even if RONR has a different definition, it is the
    definition in the bylaws that is controlling. There is no ambiguity to that.

    RONR may define "regular meeting" as happening at a specific interval, but the definition in your
    bylaws supersedes the RONR definition.

    Third, the ambiguity is based in the allegation that the bylaws also create these other specified
    meeting as regular meetings. Based of the rule of interpretation, which are binding on the
    assembly, the expression of one thing precludes other things of the same type (56:68 #4). That
    should end any debate as to the question.

    Basically, your bylaws have created a separate class of meetings, specified meetings, that are
    neither regular nor special meetings as RONR uses the term. They may deal with only that
    business authorized in the bylaws.

    Fourth, since several people have insisted that, in spite of 56:68 #4, these could be regular
    meetings, I will address it. As noted in my oral arguments, the claim that all these specified
    meeting are regular meeting would conflict with the term of office of two years ending at the next
    regular meeting. The interpretation all these specified meetings are somehow regular meetings

https://mail.google.com/mail/u/0/?ik=8ffcb8cae9&view=pt&search=all&permmsgid=msg-f:1771356307890001476&simpl=msg-f:1771356307890001476        1/8
7/15/23, 3:23 Case
              PM   5:23-cv-11074-JEL-EAS   ECF
                                           Gmail - No.  17-8,regarding
                                                   Fw: Questions PageID.954
                                                                       ParliamentaryFiled
                                                                                    Opinion07/22/23
                                                                                           for LPMI Page 5 of 5
    violates 56:68 #2, I did not discuss this in my opinion because I had not seen anyone claiming it
    and did not expect anyone to make a claim that so demonstrably absurd.

    I will note that in the 3th quarter 1994 National Parliamentarian, a peer reviewed journal of the
    National Association of Parliamentarians, I wrote an article dealing with the relationship between
    the rules. I wrote: "It is necessary for a parliamentarian to be aware that there may exist a higher
    authority, national, state, local laws, as well as the society's bylaws and special rules that
    supersede RONR." I can only repeat the same advice 28 years later.



    Jonathan M. Jacobs, PRP-R, CPP
    630 North 63rd Street, Apt 3 FL R,
    Philadelphia, PA 19151
    (215) 229-1185




    On Friday, December 23, 2022 at 09:21:40 AM EST, Andrew Chadderdon <andrew.chadderdon@gmail.com> wrote:


    Hi JJ,

    I had this exchange a day or so ago with Josh Martin, and have shared it already to a few of the members of the
    opposition.

    Despite a few of their awareness of this exchange, they continue to go on towards their special convention it seems (I'm
    furious over this, at it looks like I need to start organizing members for the convention, and while I know I should just put
    the brakes and enjoy Christmas with my family, i am having a hard time to do that as these people are attempting to tear
    down the last 3 years of my work that has been on the level of a full time job. Especially infuriating given the level of
    recruitment of members to the party that i have almost individually facilitated/supported, while this group has not recruited
    ANYONE basically).

    Anyways, I sent the starting email of this mail in middle of the night after an insulting conversation with one of the
    members of the party who was involved in soliciting Josh and Richards opinions in which they said that our JC was
    maliciously ruling a completely invalid interpretation and referred to them as 3 biased non parliamentarians, (not factually
    inaccurate but completely intellectually dishonest in my view to throw out that they considered your opinion and also the
    knowledge that we had support from Steve Britton previously in this interpretation).

    Please let me know what your assessment of this conversation is.

    I included the disclaimers in the first email since was so late, i was angry at the member, and I didn't want to mistakenly
    put words in your mouth, but I aimed to represent the position from your opinion, and my understanding of the rule
    interpretation as i have gathered it from what i have learned from working with you (and previously with Steve).

    Just for my personal knowledge I would also be interested to discuss at some point Josh's response about the
    interpretation about 56:68 #2, as honestly I think I had considered that angle in my head previously, and I think that setting
    Josh's citation of that, if I understand it correctly, I think that it convinced me why the bylaws don't give any hint on what
    direction to take, and potentially further why I think now that your interpretation from your opinion might be unambiguously
    the ONLY "valid" one not explicitly ruled out by the bylaws. I think you didn't include mention of 56:68 #2 in your opinion
    either. Did you take the same consideration that Josh pointed to in making that decision out of curiosity? (Also, i think at
    some point in the future, i may consider to try to become a Parliamentarian, hahaha)

    It seems to me that these concessions are hugely significant because i believe that Josh went from calling for in his
    opinion that it being a regular convention was the only valid interpretation, to conceding that your inspiration was a


https://mail.google.com/mail/u/0/?ik=8ffcb8cae9&view=pt&search=all&permmsgid=msg-f:1771356307890001476&simpl=msg-f:1771356307890001476   2/8
